                      IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

In re: SARAI SERVICES GROUP, INC. 1                       )
                                                          )       Case No.: 18-82948-CRJ-11
        EIN: xx-xxx2969                                   )
                                                          )
                Debtor.                                   )       CHAPTER 11
                                                          )

                             DEBTOR’S MOTION FOR INTERIM
                          AUTHORITY TO USE CASH COLLATERAL


        COMES NOW Sarai Services Group, Inc. (the “Debtor”), and shows unto this Honorable
Court the following:
                                              Background

        1.      On October 3, 2018, (the "Commencement Date"), the Debtor commenced with
this Court a voluntary case under Chapter 11 of Title 11, United States Code (the "Bankruptcy
Code").


        2.      This Court has subject matter jurisdiction to consider and determine this motion
pursuant to 28 U.S.C. § 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is
proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.


        3.      The Debtor is a corporation organized and operating under the laws of the State of
Alabama and is engaged in the business of government contracting.


        4.      In its filed bankruptcy schedules, the Debtor valued its accounts receivable under
90 days old at $1,524,607.45 and its accounts receivable over 90 days old at $1,987,795.39.




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        In addition to Sarai Services Group, Inc., the Debtors include the following: SSGWWJV LLC, Case No.
18-82949-CRJ-11; Sarai Investment Corporation, Case No. 18-82950-CRJ-11; and CM Holding, Inc., Case No. 18-
82951-CRJ-11.




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       5.       As of the Commencement Date, the Debtor believed it had previously satisfied all
secured, perfected liens on its personal property; it listed no secured creditors on its bankruptcy
schedules.


       6.       Creditor Everest Business Funding (“Everest”) has filed a proof of claim [Claim
6-1] listing a claim for $66,717.83 as secured by the Debtor’s accounts receivable.


       7.       Creditor Pearl Delta Funding, LLC (“Pearl”) has filed a proof of claim [Claim 30-
1] listing a claim for $133,750.00 as secured by the Debtor’s accounts receivable.

       8.       On February 5, 2019 this Court approved the Debtor’s first motion for interim
authority to use cash collateral.

       9.       The Debtor now seeks interim authority to use cash collateral through the date of
May 31, 2019.

       10.      During the course of this case, another creditor and the Bankruptcy Administrator
discovered that Pearl had debited approximately $20,000.00 from the Debtor post-petition
without court authorization. Pearl had notice of this bankruptcy case. The Debtor is currently
exploring an action for stay violation and other counts to assert against Pearl.

                                             Relief Requested

       11.      Assuming Everest and Pearl’s proofs of claim are valid and secured, their interest
in the Debtor’s accounts receivable constitute “cash collateral” within the meaning of § 363(a) of
the Bankruptcy Code (the “Cash Collateral”).


       12.      11 U.S.C. § 363(c)(2) prohibits a debtor from utilizing Cash Collateral without
the consent of such party or absent Court approval. Pursuant to 11 U.S.C. § 363(c)(2)(B), Debtor
seeks authorization from this Court, to use the cash collateral of Everest and/or Pearl.


       13.      Debtor’s primary source of cash for the continued operation of its business is
operating revenue and collection of its accounts receivable, both of which constitute Cash
Collateral.




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       14.     Debtor has an immediate need for authority to continue to use the Cash Collateral
in its ongoing business operations. If Debtor is not permitted to use the Cash Collateral, it will
have to shut down its business, thus hindering any prospects of future reorganization.


       15.     The Debtor is not aware of any other creditors who possess an interest in its Cash
Collateral.


       16.     The Debtor believes that Everest and Pearl’s interests in its Cash Collateral are
adequately protected: their claimed combined debt of $200,467.83 is secured by an equity
cushion of over $3.3million in accounts receivable.


       17.     As adequate protection, the Debtor proposes to grant to Everest, Pearl, and any
other creditor with a secured interest in the Debtor’s Cash Collateral a replacement lien in the
Debtor’s post-petition assets, and proceeds of same, to the same extent, priority and validity as
its pre-petition lien, to the extent that the Debtor’s use of Cash Collateral results in a decrease in
the value of these creditor’s interest in the Cash Collateral.


       18.     Given that the secured nature of Everest’s and Pearl’s claims are in dispute, the
Debtor respectfully requests that this Court make any post-petition liens granted to these
creditors interim in nature; the Debtor would like to conduct discovery and may object to either
claim if necessary.


       WHEREFORE, the Debtor respectfully requests that this Court enter an Order:
permitting the use of cash collateral upon the terms and conditions stated herein; and granting
such other and further relief as this Court deems just and proper.


       Respectfully submitted this the 28th day of March, 2019.

                                              /s/ Tazewell T. Shepard IV
                                              Tazewell T. Shepard III
                                              Tazewell T. Shepard IV
                                              Attorneys for the Debtor




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                              CERTIFICATE OF SERVICE

       This is to certify that this the 28th day of March, 2019, I have this day served the
foregoing motion on all parties requesting notice, all parties listed on the Clerk’s Certified
Matrix and Richard Blythe, Office of the Bankruptcy Administrator, by electronic service
through the Court’s CM/ECF system and/or by placing a copy of same in the United States Mail,
postage pre-paid.

                                          /s/ Tazewell T. Shepard IV
                                          Tazewell T. Shepard IV




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